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8
                                  IN THE UNITED STATES DISTRICT COURT
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                                     EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                            CASE NO. 1:15-CR-00319 LJO-SKO
12
                                   Plaintiff,
13                                                        ORDER ON PETITION REGARDING
                             v.                           DEFENDANT’S SURRENDER DATE
14
     MARISOL QUINTERO SOLORIO,
15
                                  Defendant.
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            Marisol Quintero Solorio, by and through her attorney of record, Mark A. Broughton, having
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     requested permission to file Petition for Order Postponing Surrender date of August 9, 2019, and good
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     cause appearing therefore as set forth in the Defendant’s petition, the petition is hereby granted.
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     Therefore, Marisol Quintero Solorio shall surrender by 2:00 p.m. on September 6, 2019.
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22   IT IS SO ORDERED.

23      Dated:     August 8, 2019                             /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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